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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust                  Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                                    ORDER
Residential Funding Company, LLC and
ResCap Liquidating Trust v. Golden Empire
Mortgage, Inc., No. 13-cv-3466


       Pursuant to the parties’ Stipulation of Dismissal with Prejudice [Doc. No. 1826 in

13cv3451], IT IS HEREBY ORDERED that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), case No. 13-cv-3466 is hereby dismissed with prejudice and without

attorneys’ fees, costs and expenses to any of the parties to this action.


DATED: October 12, 2016                    s/Susan Richard Nelson
                                           SUSAN RICHARD NELSON
                                           United States District Judge
